559 F.2d 1204
    95 L.R.R.M. (BNA) 3011, 82 Lab.Cas.  P 10,009,82 Lab.Cas.  P 10,010
    N. L. R. B.v.Henry M. Hald High School Association
    No. 76-4258, 76-4259
    United States Court of Appeals, Second Circuit
    5/6/77
    
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      N.L.R.B.
    
    
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      ENFORCEMENT GRANTED*
    
    
      
        *
         Oral opinion delivered in open court in the belief that no jurisprudential purpose would be served by a written opinion.  An oral opinion or a summary order is not citable as precedent.  Local Rule Sec. 0.23
      
    
    